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 1                                                          CHIEF JUDGE RICARDO S. MARTINEZ
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 5
 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE
 8
     UNITED STATES OF AMERICA,                          )    No. CR 16-226RSM
 9                                                      )
                     Plaintiff,                         )
10                                                      )    ORDER GRANTING MOTION TO
                v.                                      )    FILE OVERLENGTH REPLY
11                                                      )    REGARDING MOTION FOR
     VALENTIN BUTOV,                                    )    COMPASSIONATE RELEASE
12                                                      )
                     Defendant.                         )
13                                                      )
14
15          Upon review of the defense’s motion requesting permission to file an over-
16   length reply for compassionate release in excess of 6 pages; the Court finds good cause
17   and by leave of the Court, the motion is GRANTED.
18          IT IS SO ORDERED.
19          DONE this 2nd day of October 2020.


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21
                                                      RICARDO S. MARTINEZ
22                                                    CHIEF UNITED STATES DISTRICT
                                                      JUDGE
23
24   Presented by:
25   s/ Vanessa Pai-Thompson
26   Assistant Federal Public Defender
     Attorney for Valentin Butov

       ORDER GRANTING MOTION TO FILE                                  FEDERAL PUBLIC DEFENDER
       OVERLENGTH REPLY REGARDING MOTION                                 1601 Fifth Avenue, Suite 700
       FOR COMPASSIONATE RELEASE                                                   Seattle, WA 98101
       (United States v. Valentin Butov; CR16-226RSM) - 1                              (206) 553-1100
